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                                                                        Judge Richard A. Jones
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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7
                                      AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                          NO. CR 20-162 RAJ
10
                            Plaintiff,                   ORDER GRANTING DEFENDANTS’
11                                                       UNOPPOSED MOTION TO
            v.                                           CONTINUE TRIAL DATE AND
12                                                       PRETRIAL MOTIONS DEADLINE
     JUAN MEJIA-MEJIA and
13   FRANKLIN J. LICONA-RIVERA,
14
                            Defendants.
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16          THE COURT has considered Defendants’ unopposed motion to continue the trial

17   date and pretrial motions deadline and finds that:
                 a) taking into account the exercise of due diligence, a failure to grant a
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                     continuance would deny counsel for the defendants the reasonable time
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                     necessary for effective preparation, due to counsels’ need for more time to
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                     review the evidence, consider possible defenses, and gather evidence
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                     material to the defense, as set forth in 18 U.S.C. § 3161(h)(7)(B)(iv); and
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                 b) a failure to grant a continuance would likely result in a miscarriage of
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                     justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i); and
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      ORDER CONTINUING TRIAL DATE                                  LAW OFFICE OF
      AND PRETRIAL MOTIONS DEADLINE - 1                            AMY MUTH, PLLC
      United States v. Juan Mejia-Mejia, et al.,             1000 Second Avenue, Suite 3140
      CR20-162 RAJ                                             Seattle, Washington 98104
                                                                   TEL: 206-682-3053
                                                                   fax: 206-267-0349
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 1              c) the additional time requested is a reasonable period of delay, as the

 2                   defendants have requested more time to prepare for trial, to investigate the

 3                   matter, to gather evidence material to the defense, and to consider possible

 4                   defenses; and

 5              d) the ends of justice will best be served by a continuance, and the end of

 6                   justice outweigh the best interests of the public and the defendant in any

 7                   speedier trial, as set forth in 18 U.S.C. § 3161(h)(7)(A); and

 8              e) the additional time requested between the current trial date of
 9                   November 30, 2020, and the new trial date is necessary to provide counsel
10                   for the defendants reasonable time to prepare for trial considering

11                   counsels’ schedule and all of the facts set forth above.

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13          IT IS THEREFORE ORDERED that Defendants’ unopposed motion (Dkt. #18) is
14   GRANTED. The trial date in this matter shall be continued to June 21, 2021. All pretrial

15   motions, including motions in limine, shall be filed no later than April 29, 2021.

16          IT IS FURTHER ORDERED that the period of delay from the date of this order to

17   the new trial date of June 21, 2021, is excludable time pursuant to 18 U.S.C. §§
     3161(h)(7)(A) and (h)(7)(B)(iv).
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            DATED this 9th day of November, 2020.
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21                                                      A
22                                                      The Honorable Richard A. Jones
23                                                      United States District Judge

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      ORDER CONTINUING TRIAL DATE                                  LAW OFFICE OF
      AND PRETRIAL MOTIONS DEADLINE - 2                            AMY MUTH, PLLC
      United States v. Juan Mejia-Mejia, et al.,             1000 Second Avenue, Suite 3140
      CR20-162 RAJ                                             Seattle, Washington 98104
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